          20-10068-mg              Doc 8         Filed 01/15/20 Entered 01/15/20 08:59:40                                  Ch 11 First Mtg
                                                         Corp/Part Pg 1 of 2
 Information to identify the case:
 Debtor
                Jovi Enterprises, Inc.                                                      EIN:   13−4178394
                Name

 United States Bankruptcy Court     Southern District of New York                           Date case filed for chapter:       11      1/13/20

 Case number:       20−10068−mg

Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17




For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Jovi Enterprises, Inc.


  2. All other names used in the
     last 8 years

                                              504 Brook Avenue
  3. Address                                  Apt. 2B
                                              Bronx, NY 10455

                                              Norma E. Ortiz
                                              Ortiz & Ortiz, LLP                                         Contact phone (718) 522−1117
  4. Debtor's attorney                        32−72 Steinway Street
      Name and address
                                              Suite 402                                                  Email: email@ortizandortiz.com
                                              Astoria, NY 11103

  5. Bankruptcy clerk's office                One Bowling Green                                          Office Hours: Monday − Friday 8:30 AM
      Documents in this case may be filed     New York, NY 10004−1408                                    − 5:00 PM
      at this address.
      You may inspect all records filed in
      this case at this office or online at   Clerk of the Bankruptcy Court:                             Contact phone 212−668−2870
      www.pacer.gov.                          Vito Genna                                                 Date: 1/15/20

  6. Meeting of creditors                                                                                Location:
      The debtor's representative must    February 13, 2020 at 12:30 PM
      attend the meeting to be questioned                                                                Office of the United States Trustee,
      under oath.                                                                                        United States Bankruptcy Court,
      Creditors may attend, but are not   The meeting may be continued or adjourned to a later
      required to do so.                  date. If so, the date will be on the court docket.             SDNY, One Bowling Green, Room
                                                                                                         511, Fifth Floor, New York, NY
                                                                                                         10004−1408

                                                                                                           For more information, see page 2 >

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                                                       Corp/Part Pg 2 of 2
Debtor Jovi Enterprises, Inc.                                                                                               Case number 20−10068−mg


  7. Proof of claim deadline                Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
                                            you another notice.

                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office.
     All Proofs of Claim must be           Your claim will be allowed in the amount scheduled unless:
     filed electronically on the
     Court's website or mailed to                  • your claim is designated as disputed, contingent, or unliquidated;
     the court at the address listed               • you file a proof of claim in a different amount; or
     in section 5.                                 • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                           of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  8. Exception to discharge                If 523(c) applies to your claim and you seek to have it exempted from discharge, you must start a judicial
      The bankruptcy clerk's office must   proceeding by filing a complaint.
      receive a complaint and any required
      filing fee.


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                            Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                            court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                            and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                            hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                            trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                            business.


                                            Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                            debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                    debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                            discharge and § 523 (c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                            paying the filing fee in the bankruptcy clerk's office by the deadline.




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